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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA


  IN RE GEISINGER SYSTEM                   No. 4:21–cv–00196
  SERVICES AND EVANGELICAL
  COMMUNITY HOSPITAL                       Chief Judge Matthew W. Brann
  HEALTHCARE WORKERS
  ANTITRUST LITIGATION


                                    ORDER

      AND NOW, this 18th day of June 2024, upon consideration of Plaintiffs’

Motion for Leave to File Under Seal, IT IS HEREBY ORDERED that the

Motion is GRANTED. The Clerk of Court is directed to file under seal an

unredacted copy of Plaintiffs’ Memorandum of Law in support of their Motion

for Class Certification, Memorandum of Law in support of their Motion to

Exclude an Opinion and Related Analyses of Dr. Laurence Baker, and

Declaration of Adam J. Zapala and Exhibits thereto.



                                           BY THE COURT:


                                            s/ Matthew W. Brann
                                           Matthew W. Brann
                                           Chief United States District Judge
